  Case 1:20-cv-25022-KMM Document 29-7 Entered on FLSD Docket 01/25/2021 Page 1 of 2

AO 440 (Rev. 06/12) Summons in a Civil Action ,Page 2)


Civil Action No. 1:20-cv-25022-JLK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed R. Civ. P. 4 (0)

           This summons for (name of individual and title, (luny)          Prince Mohammed bin Salman bin Abdulaziz Foundation
was received by me on (date)                      01/21/2021

           ri I personally served the summons on the individual at (place)
                                                                                     On (date)                              or

           71 I left the summons at the individual's residence or usual place of abode with (name)
                                                                      , a person of suitable age and discretion who resides there,
           on (date)                                 and mailed a copy to the individual' s last known address; or

               I served the summons on         (name of individual)     Andre M. Huner, Legal Associate / Intake                     who is
            designated by law to accept service of process on behalf of Maine of organialtion)                 William W.Taylor,Esq.Counsel
           ofPrince Mohammed bin Salman bin Abdulaziz Foundation on Nato                                 01/21/2021        ; Or

           n I returned the summons unexecuted because                                                                                   ; or

           rl Other (specijj9:




           My fees are $                           for travel and $                       for services, for a total of $          0.00


           I declare under penalty of perjury that this information is true.



 Date:          01/21/2021
                                                                                                  Server's signature

                                                                                                 Albert Safewright
                                                                                             Printed name and title

                                                                           22 West 48th Street, Suite 1006 New York, NY 10036


                                                                                                  Server address

 Additional information regarding attempted service, etc:
  Served with Summons & Complaint:
 Copy of Summons & Complaint in Arabic
  Order: Authorizing Alternative Service
 Case 1:20-cv-25022-KMM Document 29-7 Entered on FLSD Docket 01/25/2021 Page 2 of 2

AO 440 (Rey. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:20-cv-25022-JLK

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Cu'. P. 4 (0)

           This summons for (name of individual and title, if any)        Prince Mohammed bin Salman bin Abdulaziz Foundation
was received by me on (date)                      01/21/2021

           11 I personally served the summons on the individual at (place)
                                                                                    on (date)                             : or

           11 I left the summons at the individual's residence or usual place of abode with (name)
                                                                      a person of suitable age and discretion who resides there,
           on (date)                                and mailed a copy to the individual's last lcnown address; or

               I served the summons on (name of individual)            Andre M. Huner, Legal Associate / Intake                    . who is
            designated by law to accept service of process on behalf of (name of organ/zillion)              Margarita K. O'Donell, Esq. for •
           Prince Mohammed bin Salman bin Abdulaziz Foundation                      on (date)          01/21/2021         or

               I returned the summons unexecuted because                                                                                or

               Other (specifj):




           My fees are $                           for travel and $                     for services, for a total of $           0.00


           I declare under penalty of perjury that this information is true.



 Date:          01/21/2021
                                                                                                Server's signature

                                                                                            Albert Safewright
                                                                                            Printed name and title

                                                                         22 West 48th Street, Suite 1006 New York, NY 10036


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